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                                   Tracy DeCaussin
                                      03/19/2021                               ·
   ·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

   ·2· · · · · · ·FOR THE EASTERN DISTRICT OF MICHIGAN

   ·3· · · · · · · · · · · · SOUTHERN DIVISION

   ·4

   ·5· ·KOHCHISE JACKSON,

   ·6· · · · · · ·Plaintiff,

   ·7· · · vs.· · · · · · · · · · · · · No. 2:19-cv-13382
   · · · · · · · · · · · · · · · · · · ·Hon.: Terrence G. Berg
   ·8· · · · · · · · · · · · · · · · · ·Mag.: Patricia T. Morris
   · · ·CORIZON HEALTH, Inc. et al,
   ·9
   · · · · · · · ·Defendant,
   10· ·_________________________________/

   11· ·PAGE 1 TO 18

   12

   13· · · · The Deposition of TRACY DeCAUSSIN,

   14· · · · Taken at 737 Woodlawn Ave,

   15· · · · Jackson, Michigan,

   16· · · · Commencing at 1:31· p.m.,

   17· · · · Friday, March 19, 2021,

   18· · · · Before Melinda R. Womack, CSR3611.

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   ·1· ·APPEARANCES:

   ·2

   ·3· · · · MR. IAN T. CROSS· P83367

   ·4· · · · Margolis, Gallagher & Cross

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   19· · · · Appearing on behalf of Defendant Prime Healthcare

   20· · · · Services and Colleen Spencer.

   21

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   23· · · · · · · · · Appearances Continued. . .

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   ·1· ·MR. DELVIN SCARBER· P64532

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   ·8· ·Appearing on behalf of Defendants Corizon Health,

   ·9· ·Inc. and Keith Papendick, M.D.

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   ·1· Jackson, Michigan

   ·2· Friday, March 19, 2021

   ·3· About 1:31 p.m.

   ·4· · · · · · · · · ·VIDEOGRAPHER:· We are on the record.

   ·5· · · ·This is the video deposition of Tracy DeCaussin being

   ·6· · · ·taken virtually through Zoom.· Today is Friday, March

   ·7· · · ·19, 2021.· Time on the record is approximately 1:31

   ·8· · · ·p.m.· At this time, will the attorneys please

   ·9· · · ·identify themselves and affiliations for the record

   10· · · ·and then our court reporter will swear in the

   11· · · ·witness.

   12· · · · · · · · · ·MR. CROSS:· Good afternoon.· Ian Cross

   13· · · ·for the plaintiff, Kohchise Jackson.

   14· · · · · · · · · ·MR. CORBET:· Good afternoon.· This is Dan

   15· · · ·Corbet on behalf of Colleen Spencer and Lake Huron

   16· · · ·Medical Center.

   17· · · · · · · · · ·MR. SCARBER:· Good afternoon.· This is

   18· · · ·Devlin Scarber on behalf of Corizon and Dr. Keith

   19· · · ·Papendick.

   20· · · · · · · · · ·MR. SHOUDY:· This is Todd Shoudy on

   21· · · ·behalf of the witness and St. Clair County.

   22· · · · · · · · · · · · TRACY DECAUSSIN,

   23· · having first been duly sworn, was examined and testified

   24· · on her oath as follows:

   25· EXAMINATION BY MR. CROSS:




                                                                                   YVer1f
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   ·1· ·Q.· Good afternoon, Ms. DeCaussin.· Did you have the

   ·2· · · ·opportunity to review any documents in preparation

   ·3· · · ·for today's deposition?

   ·4· ·A.· I did.

   ·5· ·Q.· What documents did you review?

   ·6· ·A.· The contract that was viable at the time in question.

   ·7· ·Q.· Okay.· I'm going to show you a document.· Is this

   ·8· · · ·contract the contract you reviewed?

   ·9· ·A.· Yes.

   10· ·Q.· I take it you recognize it?

   11· ·A.· Yes.

   12· ·Q.· And I see that the contracting parties are the County

   13· · · ·of St. Clair and Trinity Health Michigan, d/b/a St.

   14· · · ·Joseph Mercy Port Huron.· Do you know if Trinity

   15· · · ·Health Michigan ever assigned its rights and

   16· · · ·responsibilities under this contract to another

   17· · · ·party?

   18· · · · · · · · · ·MR. CORBET:· Form and foundation.· Sorry.

   19· · · ·Go ahead.

   20· ·A.· I do know that Trinity Healthcare was assumed at some

   21· · · ·point under Prime Healthcare, I believe.

   22· ·Q.· (By Mr. Cross, continuing) Do you know when that

   23· · · ·occurred?

   24· ·A.· I do not know the exact time.

   25· ·Q.· Okay.· Do you know who wrote this contract?




                                                                                   YVer1f
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   ·1· ·A.· I do not.

   ·2· ·Q.· Did the County -- well, all right.· I'm going to

   ·3· · · ·direct your attention to, I believe it is attachment

   ·4· · · ·one, the scope of contracting services.

   ·5· · · · · · · · · ·MR. CORBET:· Ian, let me just put a

   ·6· · · ·continuing objection here since I'm not as intimately

   ·7· · · ·familiar with this contract as Ken Willis is.· Ken

   ·8· · · ·Willis is on vacation.· My objection, because I

   ·9· · · ·noticed that the expiration date is December 31st,

   10· · · ·2016, so it might not apply to 2017.· It certainly

   11· · · ·might.· I'm not saying it does or it doesn't at this

   12· · · ·point in time.· Please continue with the deposition,

   13· · · ·but I just wanted to preserve that because Mr. Willis

   14· · · ·is probably better able to answer that right now.

   15· ·Q.· (By Mr. Cross, continuing) All right.· So see where

   16· · · ·it says this attachment one scope of contractor

   17· · · ·services?

   18· ·A.· Yes.

   19· ·Q.· See where it says healthcare services, SJMPHCHCS?· Do

   20· · · ·you know what SJMPHCHCS is?

   21· ·A.· No.

   22· ·Q.· All right.

   23· ·A.· It's the hospital's acronyms, but the names on it,

   24· · · ·I'm not a hundred percent sure.

   25· · · · · · · · · ·MR. CORBET:· Ian, you want some help?




                                                                                   YVer1f
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   ·1· ·A.· It says it right above it.· It's St. Joseph Mercy

   ·2· · · ·Port Huron Correctional Healthcare Services.· Sorry.

   ·3· · · · · · · · · ·MR. CORBET:· There you go.

   ·4· ·Q.· (By Mr. Cross, continuing) That's the contracting

   ·5· · · ·party, correct?

   ·6· ·A.· Yes.

   ·7· ·Q.· All right.· And when it says it will

   ·8· · · ·provide/coordinate healthcare and related services

   ·9· · · ·consistent with community standards, what does that

   10· · · ·mean?

   11· · · · · · · · · ·MR. CORBET:· Same objection.

   12· ·A.· I don't know.

   13· ·Q.· (By Mr. Cross, continuing) So the County doesn't know

   14· · · ·what that means?

   15· ·A.· Well I can speculate what it means because I didn't

   16· · · ·write this contract, so I'm guessing it would mean in

   17· · · ·coordination with health services standards across

   18· · · ·the board as far as maybe licensing, levels of care,

   19· · · ·the obligations that way.

   20· ·Q.· Let's go down to work plans.· You contracted to

   21· · · ·receive eight hours a day of onsite services along

   22· · · ·with 24/7 program oversight from the RN coordinator.

   23· · · ·What is 24/7 program oversight?

   24· ·A.· So we have 24/7 care here in our facility, and that

   25· · · ·RN coordinator position would be responsible, even if




                                                                                   YVer1f
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   ·1· · · ·they're not here on site, to have oversight of the

   ·2· · · ·coverage that takes place in the evenings in our

   ·3· · · ·facility.

   ·4· ·Q.· Do you know who the RN coordinator was in 2016 and

   ·5· · · ·2017?

   ·6· ·A.· I guess looking for clarification on that question

   ·7· · · ·because if there was any change in staffing what that

   ·8· · · ·would look like, but under looking at what you're

   ·9· · · ·providing, I'm going to say it must have been Colleen

   10· · · ·at that time.

   11· ·Q.· Do you know Colleen's last name?

   12· ·A.· I think it's DeWalt.· I'm not sure.· I apologize.

   13· ·Q.· Directing your attention to bullet point two, when it

   14· · · ·says the RN coordinator will act as a case manager

   15· · · ·for coordination of all medical services for inmates.

   16· · · ·What does a case manager do?

   17· · · · · · · · · ·MR. CORBET:· Form and foundation.

   18· · · · · · · · · ·MR. SCARBER:· Join.

   19· ·A.· For me to answer that question, they're overseeing

   20· · · ·the cases that are here taking place in our facility.

   21· ·Q.· (By Mr. Cross, continuing)· Why did the County put

   22· · · ·that in the contract?

   23· · · · · · · · · ·MR. CORBET:· Same.

   24· ·A.· Because I didn't, I didn't write this contract, I

   25· · · ·would be speculating.




                                                                                   YVer1f
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   ·1· ·Q.· (By Mr. Cross, continuing)· Do you know the specific

   ·2· · · ·functions and responsibilities that were designated

   ·3· · · ·by the County to this entity?

   ·4· ·A.· I'm sorry.· Can you repeat that?

   ·5· ·Q.· So, I'm sorry.· Are you aware of the specific

   ·6· · · ·functions and responsibilities that were delegated by

   ·7· · · ·the County to this entity, St. Joseph Mercy Port

   ·8· · · ·Huron Correctional Healthcare Services?

   ·9· · · · · · · · · ·MR. SHOUDY:· Ian, are you talking about

   10· · · ·something different than is in this contract that

   11· · · ·spells it out for three pages what those are?               I

   12· · · ·don't understand your question.· It goes on for three

   13· · · ·pages what all the things they're supposed to do

   14· · · ·under the contract.

   15· · · · · · · · · ·MR. CROSS:· I'm trying to ask the County

   16· · · ·about what all the things in the contract mean and

   17· · · ·she doesn't know.

   18· · · · · · · · · ·MR. SHOUDY:· Ask a specific question.

   19· ·Q.· (By Mr. Cross, continuing)· Okay.· So see this bottom

   20· · · ·bullet point where it says care plan development and

   21· · · ·implementation in coordination of care?· What is care

   22· · · ·plan development?

   23· ·A.· This is my opinion would be what it's meaning is that

   24· · · ·the care plan development and implementation is makes

   25· · · ·like upon release or when they're here, if they're --




                                                                                    YVer1f
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   ·1· · · ·maybe they have some type of medical issue that

   ·2· · · ·they're assisting with or as they're getting ready to

   ·3· · · ·transition outside of the facility, a care plan

   ·4· · · ·development would be so when you're leaving, this is

   ·5· · · ·what we're recommending, this is what we're giving

   ·6· · · ·you.· Or in the coordination of care would be, an

   ·7· · · ·example might be our local community mental health,

   ·8· · · ·is it somebody who's seeking mental health services,

   ·9· · · ·that coordination of care comes into play.

   10· ·Q.· So care plan development, does that involve making

   11· · · ·medical decisions for the inmates?

   12· · · · · · · · · ·MR. CORBET:· Form and foundation.

   13· ·A.· I'm sorry.· As far as the medical making the medical

   14· · · ·decisions in the care plan?

   15· ·Q.· (By Mr. Cross, continuing)· So say you had an inmate

   16· · · ·-- what I'm trying to get at is what responsibilities

   17· · · ·was the County delegating to the contractor in this

   18· · · ·contract?· And when the contract says that the RN

   19· · · ·coordinator is responsible for care plan development,

   20· · · ·what does that mean?

   21· · · · · · · · · ·MR. CORBET:· Same objection.

   22· · · · · · · · · ·MR. SHOUDY:· And we already answered

   23· · · ·that.

   24· ·A.· In relation -- yeah.· Did I not answer that question?

   25· · · ·I'm sorry.




                                                                                    YVer1f
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   ·1· ·Q.· (By Mr. Cross, continuing)· Okay.· I'll move on.

   ·2· ·A.· Okay.

   ·3· ·Q.· So this administration section says here that the RN

   ·4· · · ·coordinator will be responsible for planning,

   ·5· · · ·implementing and direction operational functions of

   ·6· · · ·Healthcare services of the correctional facility.· Is

   ·7· · · ·determining medical necessity of a surgical procedure

   ·8· · · ·an operational function?

   ·9· · · · · · · · · ·MR. CORBET:· Can I just put a form and

   10· · · ·foundation objection?· You skipped half of that line.

   11· ·Q.· (By Mr. Cross, continuing) Go ahead.· You can answer.

   12· ·A.· I'm sorry, will you repeat the question?

   13· ·Q.· You see where it says the physician, physician

   14· · · ·extender and the RN coordinator will be responsible

   15· · · ·for the planning, implementing and directing

   16· · · ·operational functions of healthcare services of the

   17· · · ·correctional facility?

   18· ·A.· Yes.

   19· ·Q.· Does determining the medical necessity of a surgical

   20· · · ·procedure fall under operational function of

   21· · · ·healthcare services at correctional facilities?

   22· · · · · · · · · ·MR. CORBET:· Just form and foundation,

   23· · · ·you also skipped the beginning of that sentence, but

   24· · · ·go ahead.· I'm sorry.

   25· ·A.· Yes.




                                                                                    YVer1f
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    ·1· ·Q.· (By Mr. Cross, continuing) It does.· So is it fair to

    ·2· · · ·say that the RN coordinator, and the physician,

    ·3· · · ·physicians extender are responsible for determining

    ·4· · · ·whether a surgical procedure should occur or needs to

    ·5· · · ·occur under this contract?

    ·6· · · · · · · · · ·MR. CORBET:· Form and foundation.

    ·7· ·A.· Yes.

    ·8· ·Q.· (By Mr. Cross, continuing) Okay.

    ·9· · · · · · · · · ·MR. CROSS:· I don't have any further

    10· · · ·questions.

    11· · · · · · · · · ·MR. CORBET:· This is Dan Corbet.· Is it

    12· · · ·officer?· Is that the way to --

    13· · · · · · · · · ·THE WITNESS:· Lieutenant Olejnik?

    14· · · · · · · · · ·MR. CORBET:· Lieutenant?· I'm sorry.

    15· · · ·Lieutenant, I just have a few follow-up questions.

    16· · · ·Is that okay?

    17· · · · · · · · · ·MR. SHOUDY:· Mr. Corbet, she's not

    18· · · ·Lieutenant Olejnik.· She's Tracy DeCaussin.

    19· · · · · · · · · ·MR. CORBET:· Oh, I'm sorry.

    20· · · · · · · · · ·THE WITNESS:· I'm a current jail

    21· · · ·administrator.

    22· EXAMINATION BY MR. CORBET:

    23· ·Q.· Just to follow up what you were asked by Mr. Cross.

    24· · · · · · · · · ·MR. CORBET:· Could you put that back up

    25· · · ·there, please.




                                                                                    YVer1f
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   ·1· · · · · · · · · ·MR. CROSS:· Sure.

   ·2· ·Q.· (By Mr. Corbet, continuing) And subject to my

   ·3· · · ·original objection, the sentence that you were asked

   ·4· · · ·about does have a first part of it, doesn't it?

   ·5· ·A.· Yes.

   ·6· ·Q.· And it says as permitted by law and third party

   ·7· · · ·agreements and within the scope of services offered,

   ·8· · · ·correct?

   ·9· ·A.· Yes.

   10· ·Q.· Okay.· But once again, you would leave it to the

   11· · · ·medical staff to decide whether or not a surgery was

   12· · · ·medically necessary, correct?

   13· ·A.· Yes.

   14· ·Q.· And how they went about determining that necessity,

   15· · · ·you probably might not be familiar with, correct?

   16· ·A.· Correct.

   17· ·Q.· So I asked the earlier witness about how the outside

   18· · · ·medical bills incurred by jail inmates that are

   19· · · ·transferred to a hospital for surgery, for instance,

   20· · · ·how those bills are covered.· He said you might be a

   21· · · ·better person to ask.· Can you answer that question?

   22· ·A.· Yes.· They're paid, if they're not paid by a

   23· · · ·secondary insurance or an insurance that the

   24· · · ·individual may have, they would fall on the

   25· · · ·responsibility of the County.




                                                                                    YVer1f
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   ·1· ·Q.· So, for instance, with respect to the Plaintiff in

   ·2· · · ·this case, he did have surgery in December, I don't

   ·3· · · ·know if you're aware of that or not, December of

   ·4· · · ·2016.· Are you aware of that?

   ·5· ·A.· I'm not.

   ·6· ·Q.· Okay.· So hypothetically, if he did have surgery in

   ·7· · · ·December of 2016 and didn't have an insurance company

   ·8· · · ·to pay for it, the County would pick up that bill and

   ·9· · · ·pay whatever hospital he had the surgery at?

   10· ·A.· Correct.

   11· ·Q.· Likewise, if he was sent out for another surgery in

   12· · · ·2017 and he didn't have insurance to cover it, the

   13· · · ·hospital would pick up that bill to whatever hospital

   14· · · ·he was going to, is that fair?

   15· ·A.· I'm sorry, are you saying he's not incarcerated

   16· · · ·anymore?

   17· ·Q.· No, I'm sorry.· My bad.· Good point.· The person

   18· · · ·who's an inmate at the jail in let's say February of

   19· · · ·2017 and was being sent to have surgery and did not

   20· · · ·have insurance covering it, the hospital bill would

   21· · · ·be covered and the doctor bill for the outside

   22· · · ·services would be covered by the County in that case,

   23· · · ·right?

   24· ·A.· Yes.· Correct.

   25· ·Q.· Okay.




                                                                                    YVer1f
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    ·1· · · · · · · · · ·MR. CROSS:· That's all I have.· Thank you

    ·2· · · ·very much.· I appreciate your time.

    ·3· · · · · · · · · ·THE WITNESS:· You're welcome.

    ·4· · · · · · · · · ·MR. SCARBER:· Ian, could you do me a

    ·5· · · ·favor and just leave that up there for a second?

    ·6· · · · · · · · · ·MR. CROSS:· Sure.

    ·7· EXAMINATION BY MR. SCARBER:

    ·8· ·Q.· Ms. DeCaussin, my name's attorney Devlin Scarber, and

    ·9· · · ·I just have a few follow-up questions for you.· What

    10· · · ·is a, what is a physician/physician extender, if you

    11· · · ·know?

    12· ·A.· I believe it's a physician, I'm guessing a physician

    13· · · ·extender would be like an M.D., but I don't, I don't

    14· · · ·a hundred percent know.

    15· ·Q.· My next question for you is what is your position

    16· · · ·with the County?

    17· ·A.· I am a current jail administrator.

    18· ·Q.· And how long have you been in that position?

    19· ·A.· Since December 1st of 2019.

    20· ·Q.· And who was the jail administrator back in 2016 and

    21· · · ·2017?

    22· ·A.· Captain Tom Bliss.

    23· ·Q.· Can you spell that?

    24· ·A.· B-L-I-S-S.

    25· ·Q.· Another question for you, the gentleman that just




                                                                                    YVer1f
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   ·1· · · ·gave his testimony, Lieutenant Olejnik, what is his

   ·2· · · ·position with the jail, if you know?

   ·3· ·A.· He's a Lieutenant.

   ·4· ·Q.· Where does he, what is his position specifically in

   ·5· · · ·the jail?· Does he work in a specific area or

   ·6· · · ·department, if you're aware?

   ·7· ·A.· He would oversee all operations, operations in the

   ·8· · · ·facility within the confines of the jail.

   ·9· ·Q.· And we should have asked him.· I didn't think about

   10· · · ·it at the time, but do you know how long he's been

   11· · · ·there?· Was he there in 2016 and 2017 in that role,

   12· · · ·if you're aware?

   13· ·A.· I believe he was a sergeant at the time.

   14· · · · · · · · · ·MR. SCARBER:· I don't have anything

   15· · · ·further for you, ma'am.· Thank you.

   16· · · · · · · · · ·THE WITNESS:· Okay.· You're welcome.

   17· · · · · · · · · ·MR. CROSS:· Nothing further.

   18· · · · · · · · · ·MR. CORBET:· I think we're done,

   19· · · ·everybody.

   20· · · · · · · · · ·VIDEOGRAPHER:· That concludes the

   21· · · ·deposition.· We're going off the record.· The time is

   22· · · ·1:52.

   23

   24

   25
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    ·1· · · · · · · · · · · · CERTIFICATE OF NOTARY

    ·2

    ·3· STATE OF MICHIGAN· )

    ·4· · · · · · · · · · · )· SS

    ·5· COUNTY OFF OAKLAND· )

    ·6

    ·7· · · · · · · · · ·I, Melinda R. Womack, Certified Shorthand

    ·8· · · ·Reporter, a Notary Public in and for the above County

    ·9· · · ·and state, do hereby certify that the above

    10· · · ·deposition was taken before me at the time and place

    11· · · ·hereinbefore set forth; that the witness was by me

    12· · · ·first duly sworn to testify to the truth, and nothing

    13· · · ·but the truth, that the foregoing questions asked and

    14· · · ·answers made by the witness were duly recorded by me

    15· · · ·stenographically and reduced to computer

    16· · · ·transcription; that this is a true, full and correct

    17· · · ·transcript of my stenographic notes so taken; and

    18· · · ·that I am not related to, nor of counsel to either

    19· · · ·party nor interested in the event of this cause.

    20

    21· · · · · · · · · ·___________________________

    22· · · · · · · · · ·Melinda R. Womack, CSR-3611

    23· · · · · · · · · ·Notary Public,

    24· · · · · · · · · ·Oakland County, Michigan

    25· · My Commission expires:· 06-22-2025
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